        Case 1:19-cv-00247-APM Document 5 Filed 03/26/19 Page 1 of 19




                             UNITED STATES DISTRICT COURT FOR

                                  THE DISTRICT OF COLUMBIA


MONTE SILVER and MONTE SILVER, LTD, an      ) Case No. 1:19-cv-00247-APM
Israel corporation,                         )
                                            )
                                            )
                           Plaintiffs,      )
       vs.                                  )
                                            ) FIRST AMENDED COMPLAINT
INTERNAL REVENUE SERVICE; UNITED STATES )
                                            ) Judge Amit P. Mehta
DEPARTMENT OF THE TREASURY; CHARLES
                                            )
RETTIG, in his official capacity as         )
Commissioner of Internal Revenue; and       )
STEVEN MNUCHIN, in his official capacity as )
United States Secretary of the Treasury,    )
                                            )
                           Defendants       )


                                         INTRODUCTION

1.    This action arises under the Administrative Procedure Act (APA), 5 U.S.C. § 551 et seq,

      and the Regulatory Flexibility Act (RFA), 5 U.S.C. §601 et seq. At issue is an extensive

      set of regulations issued by the United States Department of Treasury (“Treasury”) and

      the Internal Revenue Service (the “IRS”) that primarily interpret certain complex

      international tax provisions of the Tax Cut and Jobs Act, Pub. L. 115–97 (2017) (the

      “TCJA”). 1 Defendants issued these impenetrable regulations on or about January 15,




1
      The following acronyms and short titles are employed in this complaint:

      APA                    Administrative Procedure Act, 5 U.S.C. §551 et seq.
      Code                   Internal Revenue Code, 26 U.S.C.
      CFC                    Controlled Foreign Corporation, as described in Code, Section 957
      Decision Document      As issued on January 15, 2019, and published in the Federal Register on
                             February 5, 2019, 84 Fed. Reg. 1838


                                                 1
  Case 1:19-cv-00247-APM Document 5 Filed 03/26/19 Page 2 of 19




2019, and published them in the Federal Register on February 5, 2019, 84 Fed. Reg.

1838 (the “Final Regulations”) without considering the unique implications of the

regulations for small businesses. The regulations impose many unreasonably

complicated burdens upon a large number of small businesses and small business

owners like Plaintiffs. In issuing the Final Regulations, Defendants made no effort to

examine the situation of small businesses, and did not attempt to address alternatives

which would allow a small business to comply with the law without undue burden.

Thus, in promulgating the Final Regulations, the defendants unlawfully failed to comply

with the governing provisions of the APA, RFA, and the Paperwork Reduction Act (PRA),

44 U.S.C. §3501 et seq. Accordingly, this Court should render a judgment remanding the

regulations to Treasury and IRS and deferring enforcement of Code sections 965 and

962 and the Final Regulations against the plaintiffs until Treasury and IRS comply with

the APA, RFA, and PRA.




Final Regulations     As issued on January 15, 2019, and published in the Federal Register on
                      February 5, 2019, 84 Fed. Reg. 1838
IRFA                  Initial Regulatory Flexibility Analysis, as described in 5 U.S.C §603
IRS                   Internal Revenue Service
Limited               Monte Silver, Ltd., an Israeli entity
Notice                Notice of Proposed Rulemaking for regulations for the Proposed
                      Regulations for Guidance Regarding the Transition Tax Under Section
                      965 and Related Provisions, 83 Fed. Reg. 39514
PRA                   Paperwork Reduction Act, 44 U.S.C. §3501 et seq
RFA                   Regulatory Flexibility Act, 5 U.S.C. §601 et seq
Silver                Monte Silver, a United States citizen
SBAct                 Small Business Act, 15 U.S.C. §601
TCJA                  Tax Cut and Jobs Act, Pub. L. 115-97 (2017)
Treasury              United States Department of Treasury

                                         2
       Case 1:19-cv-00247-APM Document 5 Filed 03/26/19 Page 3 of 19




                                           PARTIES

2.   Monte Silver (Silver) is a United States citizen residing in Israel. He received a Bachelor’s

     degree from the University of California at Los Angeles and earned a law degree at

     Boston University School of Law. He became a member of the California Bar in 1994. In

     1997, he moved to Israel. He practices law, primarily representing international clients

     with issues relating to United States law.

3.   Monte Silver LTD (“Limited”) is organized as an Israeli corporation. It is treated as a

     corporation for United States tax purposes. Silver is the sole shareholder in Limited.

     The one-person business operated through Limited, is organized for profit, and is

     primarily focused on providing legal services to worldwide on clients matters involving

     United States law. Since 2010, Silver has maintained a place of business in both Israel

     and California. Since 2012, Limited has maintained a place of business in both locations.

4.   Through both locations, Silver and Limited have engaged in activities which contribute

     significantly to the U.S. economy in many regards, including but not limited to (i)

     payment of taxes, (ii) use of American-based goods, services and labor and (iii)

     generation of investments in large U.S. commercial real estate.

5.   Limited and Silver have annual receipts of less than $1,000,000. Accordingly, they are

     treated as small businesses for purposes of the Small Business Act. 15 U.S.C. §601 et seq

     (the “SBAct”), and other statutes which employ the SBAct definition of “small business.”

6.   As a United States citizen, Silver annually files IRS Form 1040 individual income tax

     returns, attaching an IRS Form 5471 “Information Return of U.S. Persons with Respect to

     Certain Foreign Corporations” with respect to Limited.

                                               3
          Case 1:19-cv-00247-APM Document 5 Filed 03/26/19 Page 4 of 19




7.     The IRS is an executive agency of the United States within the meaning of the

       Administrative Procedure Act, 5 U.S.C. §551 et seq. (the “APA”). Its headquarters are

       located in Washington, D.C.

8.     The Treasury is an executive agency of the United States within the meaning of the APA.

       Its headquarters are located in Washington, D.C.

9.     Defendant Charles Rettig is the Commissioner of Internal Revenue. He is sued in his

       official capacity.

10.    Defendant Steven Mnuchin is the Secretary of the Treasury. He is sued in his official

       capacity.


                                    JURISDICTION AND VENUE

11.    This Court has federal question jurisdiction under 28 U.S.C. § 1331 because this case

       involves violations of the APA, the PRA, and the RFA.

12.    Venue is proper in this Court under 28 U.S.C. §1391(e)(1) because the defendants are

       agencies of the United States and officers of those agencies based in the District of

       Columbia.


                                           BACKGROUND

13.    Historically, Sections 951 et seq of the Internal Revenue Code (the “Code”) established a

       special tax regime for United States “controlled foreign corporations (“CFCs”)” owned

       by “United States persons.” 2 In general, these corporations and persons were not




2
       The terms “controlled foreign corporation” and “United States person” are further defined in
Code Section 957.

                                                  4
        Case 1:19-cv-00247-APM Document 5 Filed 03/26/19 Page 5 of 19




      subject to United States taxation on the earnings of the CFCs until the earnings were

      repatriated to the United States persons.

14.   Limited is a CFC and Silver is a United States person within the meaning of these

      statutes.

15.   The TCJA created two new and highly complex tax regimes for United States persons

      who owned interests in controlled foreign corporations – the Transition Tax and a

      separate tax upon Global Intangible Low Taxed Income (GILTI). 3 The Transition Tax,

      codified primarily in Code Section 965 is the principal subject matter of this action.

      Code Section 965 generally requires United States persons who own an interest in a

      controlled foreign corporation to (i) treat as income their pro rata shares of the

      accumulated post-1986 deferred foreign income, and (ii) pay the resulting taxes on such

      income starting in 2018, all as set forth in Code Section 965 and related provisions.

      Code Section 962 involves a complex and little-known election that is relevant to the

      Plaintiffs as relating to the Transition Tax and GILTI regimes.

16.   The principal focus of the Transition tax was large multi-national corporations which

      operated through foreign subsidiaries that for years had earned more than $2 trillion in

      profits overseas and continued to hold those profits overseas. Prior law incentivized

      these corporations to avoid taxation by not repatriating those profits to their U.S.

      parent corporation where such profits would be subject to high U.S. corporate tax rates.

      This portion of TCJA was designed to encourage multi-national corporations to




3
      The GILTI tax regime, codified in Code Section 951A, is not a direct subject of this litigation.

                                                       5
          Case 1:19-cv-00247-APM Document 5 Filed 03/26/19 Page 6 of 19




        repatriate the profits earned abroad to the United States for reinvestment in domestic

        operations.

17.     Many of the terms and concepts employed in the Transition Tax are very complex, not

        well-defined by statute, and are left for future agency regulations. For example, among

        the many terms first employed in Code Section 965 are “deferred foreign income

        corporation”, “accumulated post-1986 deferred foreign income”, “8 percent rate

        equivalent percentage”, “aggregate foreign cash position”, “15.5 percent rate

        equivalent percentage”, and “Specified Foreign Corporation.” The Transition Tax also

        gives rise to highly complex restrictions and computations related to allowable foreign

        tax credits.

18.     Section 962, very seldomly used, generally allows individual U.S. shareholders to elect

        and be treated as a U.S. domestic corporation with regard to Subpart F income, for the

        year of election. Considering to make the Section 962 election involves consideration of

        many intricate and complex tax law issues.

19.     Recognizing the difficulty that small businesses would encounter in understanding and

        complying with the Transition Tax, Code Section 965(i) provided for a potentially

        perpetual deferral of any Transition Tax to individual U.S. persons if they held the

        interests in a CFC by way of a pass-through “S” corporations.4



4
        “S” corporations are a type of smaller entity subject to a special tax regime under Code Section
1361 et seq. An “S” corporation is defined as having only a limited number of shareholders and a limited
amount of assets. An S corporation does not pay corporate income tax on its earnings but instead
reports the income they earn to their shareholders, who are required to treat those earnings as income
on their individual tax returns and to pay individual income tax on the resulting increased amount of
taxable income. In contrast, income earned by a larger “C” corporation is subject to so-called double


                                                   6
          Case 1:19-cv-00247-APM Document 5 Filed 03/26/19 Page 7 of 19




20.    Upon learning that individual U.S. persons who directly owned interests in CFCs through

       which they operated small businesses were subject to the Transition Tax and that tax

       returns and payments with respect to the Transition Tax were due in April 15, 2017,

       Silver and hundreds of impacted small businesses began contacting senior IRS and

       Treasury officials to request relief. As a result, on March 20, 2018, Silver travelled to

       Washington, D.C. to meet with senior Treasury and IRS officials to discuss this issue.

21.    In recognition of the unique concerns raised by these small businesses and after months

       of Silver’s interactions with Treasury and IRS, on June 4, 2018, Secretary Mnuchin

       personally approved a one year extension – until June 15, 2019 - for small businesses to

       commence making payments under Code Section 965 (“June Relief”).

                           ISSUANCE OF THE PROPOSED REGULATIONS

22.    On August 9, 2018, Treasury issued a notice of proposed rulemaking, 83 Fed Reg. 39514,

       (the “Notice of Proposed Rulemaking”) announcing proposed regulations (the “Proposed

       Regulations”) that implemented Code Section 965 and related provisions and amended

       existing regulations under Code Section 962. The Notice of Proposed Rulemaking was

       massive and included a lengthy preamble explaining many of the concepts, rules, and

       determinations employed in the Proposed Regulations. In its entirety, the Notice of

       Proposed Rulemaking was 248 typed pages long.




taxation—corporate income tax paid by the corporation on its earnings and individual income tax paid
by corporate shareholders on the dividends they receive from the corporation.

                                                  7
          Case 1:19-cv-00247-APM Document 5 Filed 03/26/19 Page 8 of 19




      Regulatory Flexibility Act (RFA) treatment in the Proposed Regulations

23.   The required discussion of RFA was well hidden in the middle of the voluminous Notice

      of Proposed Rulemaking. The RFA requires all executive branch agencies, including

      Treasury and IRS, to include an Initial Regulatory Flexibility Analysis (“IRFA”) in the

      Notice of Proposed Rulemaking and established detailed requirements regarding the

      content of that analysis. 5 Under 5 U.S.C. §603, the IRFA is required to discuss and

      explore alternatives which would minimize the economic impact of the proposed rule

      upon small businesses entities.

24.   The Notice of Proposed Rulemaking did not contain an Initial Regulatory Flexibility

      Analysis (an “IFRA”) as described in the statute.




      5      The governing statute, 5 U.S.C. §603, describes the required content of an Initial
      Regulatory Flexibility Analysis as follows--
      (b)            Each initial regulatory flexibility analysis required under this section shall
              contain—
               (4)   a description of the projected reporting, recordkeeping and other compliance
              requirements of the proposed rule, including an estimate of the classes of small entities
              which will be subject to the requirement and the type of professional skills necessary for
              preparation of the report or record;
      (c)            Each initial regulatory flexibility analysis shall also contain a description of any
                     significant alternatives to the proposed rule which accomplish the stated
                     objectives of applicable statutes and which minimize any significant economic
                     impact of the proposed rule on small entities. Consistent with the stated
                     objectives of applicable statutes, the analysis shall discuss significant
                     alternatives such as—
              (1)    the establishment of differing compliance or reporting requirements or
                     timetables that take into account the resources available to small entities;
              (2)    the clarification, consolidation, or simplification of compliance and reporting
                     requirements under the rule for such small entities;
              (3)    the use of performance rather than design standards; and
              (4)    an exemption from coverage of the rule, or any part thereof, for such small
                     entities.


                                                  8
          Case 1:19-cv-00247-APM Document 5 Filed 03/26/19 Page 9 of 19




25.     Instead, the Notice of Proposed Rulemaking avoided the IRFA requirement by having

        Secretary Mnuchin certify that the Proposed Regulations would not have “a significant

        economic impact on a substantial number of small entities”, this despite the fact that

        Secretary Mnuchin provided small businesses the June Relief two months earlier. The

        Secretary’s certification did not provide any factual support as required by law, but

        rather simply set forth conclusory assertions that: (i) the proposed regulations “do not

        impose a collection of information on small entities” and (ii) “[t]he ownership of

        sufficient stock in specified foreign corporations in order to constitute a United States

        shareholder generally entails significant resources and investment, such that businesses

        that are United States shareholders are generally not small businesses.” Likewise,

        certification did not describe any alternatives or limitations to the Proposed Regulations

        considered by IRS or Treasury to ease the burden of compliance upon small businesses.

Paperwork Reduction Act (PRA) treatment in the Proposed Regulations

26.     The PRA imposes specific obligations on Federal agencies which seek to impose

        “collection of information” or “recordkeeping requirements.”

27.     Under the PRA, agencies are required to engage in various activities to reduce

        compliance burdens resulting from new collection of information and recordkeeping

        requirements, particularly with respect to small entities. 6




6
      The PRA requires agencies to –

        certify (and provide a record supporting such certification, including public comments received
        by the agency) that each collection of information . . .



                                                   9
         Case 1:19-cv-00247-APM Document 5 Filed 03/26/19 Page 10 of 19




28.     For example, agencies like Treasury and IRS are required to certify (and provide a record

        supporting such certification, including public comments received by the agency) that

        each collection of information reduces to the extent practicable and appropriate

        the burden on persons who shall provide information to or for the agency, including

        with respect to small entities,. . . 44 U.S.C. §3506(c)(3).

29.     With respect to the PRA, the Notice of Proposed Rulemaking stated that the estimated

        number of taxpayers subject to the Proposed Regulations was 100,000 and that the

        average taxpayer would require five hours each year to comply with the Proposed

        Regulations.




        (C)     reduces to the extent practicable and appropriate the burden on persons who shall
                provide information to or for the agency, including with respect to small entities, as
                defined under section 601(6) of title 5, the use of such techniques as—
                (i)      establishing differing compliance or reporting requirements or timetables that
                take into account the resources available to those who are to respond;
                (ii)     the clarification, consolidation, or simplification of compliance and reporting
                requirements; or
                (iii)    an exemption from coverage of the collection of information, or any part
                thereof;
        (D)     is written using plain, coherent, and unambiguous terminology and is understandable to
                those who are to respond;
        (E)     is to be implemented in ways consistent and compatible, to the maximum extent
                practicable, with the existing reporting and recordkeeping practices of those who are to
                respond;
        (F)     indicates for each recordkeeping requirement the length of time persons are required to
                maintain the records specified;

44 U.S.C. § 3506 (c)(3). “In addition to the requirements of this chapter regarding the reduction of
information collection burdens for small business concerns (as defined in section 3 of the Small Business
Act (15 U.S.C. 632)), make efforts to further reduce the information collection burden for small business
concerns with fewer than 25 employees.” Id. at §3506(c)(4). Also, the OMB may not approve
a collection of information for a period in excess of 3 years. Id. at §3507(g)

                                                   10
        Case 1:19-cv-00247-APM Document 5 Filed 03/26/19 Page 11 of 19




30.   The Notice of Proposed Rulemaking did not provide any factual support for how it

      reached this estimate of compliance burden or what efforts were undertaken to reduce

      the burden of the collection of information on small businesses.

Administrative Procedure Act (APA) treatment in the Proposed Regulations


31.   Compliance with the APA was not separately addressed in the Notice of Proposed

      Rulemaking.

                      PRIOR TO ISSUANCE OF THE FINAL REGULATIONS

32.   Immediately following issuance of the Notice of Proposed Rulemaking and Proposed

      Regulations, Silver initiated a month of written communications with senior Treasury

      and IRS officials in which he detailed their alleged violation of the RFA, PRA, and

      numerous executive orders. One senior Treasury official replied in writing that the RFA

      simply did not apply to the Proposed Regulations.

33.   During the sixty-day comment period to the Proposed Regulations, Silver submitted

      detailed comments outlining (i) the legal and factual basis for his allegation that in

      issuing the Proposed Regulations Defendants violated the RFA and PRA, and (ii) the

      many ways in which the Transition Tax and Proposed Regulations imposed significant

      burdens on Plaintiffs and other small businesses.

34.   Nearly one hundred other small business owners submitted formal comments

      describing the tremendous hardships that Section 965 and the Proposed Regulations

      were creating for small business entities and their owners. These submissions

      represented more than half of the total comments on the Proposed Regulations. Most

      of these comments detailed how the Proposed Regulations were:          (i) utterly

                                               11
          Case 1:19-cv-00247-APM Document 5 Filed 03/26/19 Page 12 of 19




        incomprehensible to the small business owner and his/her tax preparers;                 (ii) forced

        small businesses to spend enormous amounts of time in futile efforts just to try and

        understand what they meant, let alone try and comply with them; and (iii) forced small

        businesses to expend significant funds to try and comply with Section 965 and the

        Proposed Regulations.

35.     Finally, in the period between the close of the comment period on October 9, 2018 and

        the issuing of the Final Regulations, a large number of small business owners informally

        contacted Secretary Mnuchin, and senior officials from Treasury, IRS and other relevant

        Federal agencies, all describing the extreme hardship they were experiencing as a result

        of Code Section 965 and the Proposed Regulations.

                                ISSUANCE OF THE FINAL REGULATIONS

36.     Early in 2019, Treasury issued a document (the “Decision Document”) containing a

        preamble which explained many of the concepts, rules, and determinations employed

        by Treasury and IRS, along with the text of the Final Regulations.7 The Decision

        Document and Final Regulations were even more lengthy and detailed than the Notice

        of Proposed Rulemaking and the original Proposed Regulations.

37.     The Decision Document contained the text of the Final Regulations and a lengthy

        preamble explaining many of the concepts, rules, and determinations employed in the




7
         The Decision Document and Final Regulations were circulated in the trade press on January 15, 2019.
They were not contemporaneously published in the Federal Register because the Government Printing Office was
closed during the government shutdown. They were formally published on February 5, 2019.

                                                      12
        Case 1:19-cv-00247-APM Document 5 Filed 03/26/19 Page 13 of 19




       Final Regulations. In its entirely, the Decision Document was even more massive than

       the Notice of Proposed Rulemaking.


Regulatory Flexibility Act (RFA) non-compliance

38.    The RFA required Treasury to issue a Final Regulatory Flexibility Analysis in conjunction

       with issuance of the Decision Document and Final Regulations.8

39.    Neither the Decision Document nor the Final Regulations contained a Final Regulatory

       Flexibility Analysis.

40.    Instead, the Decision Document included a certification stating—

                Pursuant to the Regulatory Flexibility Act (5 U.S.C. chapter 6), it is hereby certified that
       the final regulations will not have a significant economic impact on a substantial number of
       small entities within the meaning of section 601(6) of the Regulatory Flexibility Act (“small
       entities”). . . .



8
       Under 5 U.S.C. Section 604(b), the Final Regulatory Flexibility Analysis was required to contain—

                (2)     a statement of the significant issues raised by the public comments in response
               to the initial regulatory flexibility analysis, a statement of the assessment of the agency
               of such issues, and a statement of any changes made in the proposed rule as a result of
               such comments;
               (3)      the response of the agency to any comments filed by the Chief Counsel for
               Advocacy of the Small Business Administration in response to the proposed rule, and a
               detailed statement of any change made to the proposed rule in the final rule as a result
               of the comments;
               (4)      a description of and an estimate of the number of small entities to which the
               rule will apply or an explanation of why no such estimate is available;
               (5)      a description of the projected reporting, recordkeeping and other compliance
               requirements of the rule, including an estimate of the classes of small entities which will
               be subject to the requirement and the type of professional skills necessary for
               preparation of the report or record;
               (6)       a description of the steps the agency has taken to minimize the significant
               economic impact on small entities consistent with the stated objectives of applicable
               statutes, including a statement of the factual, policy, and legal reasons for selecting the
               alternative adopted in the final rule and why each one of the other significant
               alternatives to the rule considered by the agency which affect the impact on small
               entities was rejected; and . . .


                                                     13
       Case 1:19-cv-00247-APM Document 5 Filed 03/26/19 Page 14 of 19



               Regardless of the number of small entities potentially affected by section 965 or the
      final regulations, the Treasury Department and the IRS have concluded that there is no
      significant economic impact on such entities as a result of the final regulations.


41.   Neither the Decision Document nor the Final Regulations contained an explanation or

      disclosure of the factual basis and analysis underlying the certification that the Final

      Regulations will not have a significant economic impact on a substantial number of small

      entities. Likewise, neither the Decision Document nor the Final Regulations contained

      any provisions specifically addressing the unique circumstances of small businesses, any

      provisions designed to minimize the economic impact of the proposed rule on small

      entities, or any provisions designed to minimize the compliance burden imposed upon

      small entities.


Paperwork Reduction Act (PRA) non-compliance

42.   The Final Regulations specifically imposed “collection of information” and

      “recordkeeping obligations” within the meaning of the PRA.

43.    IRS and Treasury were required to comply with the requirements of the PRA in

      connection with the release of the Decision Document and Final Regulations. For

      example, under the PRA, agencies are required to certify and provide a supporting

      record establishing that they have considered and taken appropriate steps to reduce

      compliance burdens resulting from new collection of information and recordkeeping

      requirements, particularly with respect to small entities.

44.   With respect to the PRA, the Decision Document stated that—

             The collection of information [required] by these final regulations [are estimated
      to apply to] 100,000 respondents [and] will require 5 hours per response for a total


                                                  14
        Case 1:19-cv-00247-APM Document 5 Filed 03/26/19 Page 15 of 19




       reporting burden of 500,000 hours. A valuation of the burden hours at $95/hour
       ($2017) leads to a PRA-based estimate of the reporting costs to taxpayers of
       $47,500,000. . . . These burden estimates capture only those burdens imposed by the
       final regulations and do not include burden estimates for forms associated with the
       statute.

              Comments suggested that the burden reported in connection with the collection
       of information requirements under the proposed regulations did not appropriately take
       into account the time necessary for determining net tax liability under section 965 and
       performing other computations related to the determination of such net tax liability.
       However, the collections of information under the proposed regulations do not relate to
       such computations; they relate solely to the making of elections, filing of transfer
       agreements, and reporting of positions concerning the application of anti-abuse rules.

       ....

              In addition to the collection of information requirements in the final regulations,
       the enactment of section 965 necessitated the creation and modification of certain
       forms, which are needed to capture changes solely made by the Act and do not reflect a
       burden imposed by the final regulations. . . .

....

              The burdens associated with the information collections in the forms . . .
       represents a total estimated burden time, including all other related forms and
       schedules for corporations, of 3.157 billion hours and total estimated monetized costs
       of $58.148 billion ($2017) and . . . a total estimated burden time, including all other
       related forms and schedules for individuals, of 1.784 billion hours and total estimated
       monetized costs of $31.764 billion ($2017).

54.    The Final Regulations specifically imposed “collection of information” and

       “recordkeeping obligations” within the meaning of the PRA.

55.    The claims in the Decision Document regarding the compliance burden imposed by the

       Final Regulations upon small businesses are inadequately documented and are

       premised upon unstated assumptions.

56.    The Decision Document did not provide any support for its assertions that the Final

       Regulations reduced, to the extent practicable and appropriate, the burden on small

                                               15
        Case 1:19-cv-00247-APM Document 5 Filed 03/26/19 Page 16 of 19




       businesses by the use of such techniques as: (i) establishing differing compliance or

       reporting standards based on resources available to those who are to respond;

       (ii) exempting or partially exempting small businesses from certain collection of

       information requirements; or (iii) using plain, coherent, and unambiguous terminology

       and is understandable to those who are to respond.

57.    The Decision Document did not demonstrate that Treasury and IRS made any efforts to

       further reduce the information collection burden for small business concerns with fewer

       than 25 employees. Silver and Limited, as well as many other small businesses subject

       to the Final Regulations are tiny, and in many cases, one-person operations.

58.    Finally, the Final Regulations create collection of information obligations that extend far

       beyond three years in violation of the PRA.


Administrative Procedure Act (APA) violations

59.    Compliance with the APA was not separately addressed in the Decision Document and

       Final Regulations.


             COUNT I—VIOLATION OF THE REGULATORY FLEXABILITY ACT (RFA)

60.    Plaintiffs repeat and reallege each of the foregoing allegations in this First Amended

       Complaint.

61.    Treasury and IRS violated the RFA by failing to publish and make available for public

       comment an Initial Regulatory Flexibility Analysis describing the impact of the proposed

       rule on small entities and the alternatives considered by the agencies in drafting the

       Proposed Regulations.



                                                16
       Case 1:19-cv-00247-APM Document 5 Filed 03/26/19 Page 17 of 19




62.   Treasury and IRS violated the RFA by failing to publish and make available for public

      comment a Final Regulatory Flexibility Analysis describing the impact of the Final

      Regulations proposed rule on small entities and the alternatives considered by the

      agencies.

63.   The Secretary’s conclusory certification that no Initial Regulatory Flexibility Analysis was

      required because the Proposed Regulations did not have a significant economic impact

      on a substantial number of small entities was legally and factually inadequate. The

      certification failed to provide the factual basis for the certifications regarding the impact

      of the Proposed Regulations and the number of small entities impacted.

64.   The Secretary’s conclusory certification that no Final Regulatory Flexibility Analysis was

      required because the Final Regulations did not have a significant economic impact on a

      substantial number of small entities was legally and factually inadequate. The

      certification failed to provide the factual basis for the certifications regarding the impact

      of the Final Regulations and the number of small entities impacted.

65.   The failure of both IRS and Treasury to comply with the Regulatory Flexibility Act is

      consistent with a long-standing pattern of non-compliance. A recent Government

      Accountability Office report found that the agencies complied with the Regulatory

      Flexibility Act with respect to only two of the over 200 tax regulations issued between

      2013 and 2015. In response, both agencies and the Office of Management and Budget

      agreed to revisit their long-standing practice of exempting tax guidance and regulations

      from Office of Management and Budget oversight, including review of the agencies’

      compliance with the APA, RFA, and PRA.


                                               17
       Case 1:19-cv-00247-APM Document 5 Filed 03/26/19 Page 18 of 19




66.   The RFA, 5 U.S.C. §611, provides that a small entity that is adversely affected or

      aggrieved by final agency action is entitled to judicial review of agency compliance with

      the requirements of the RFA.

67.   The RFA authorizes this court to order the agency to take corrective action . . . including,

      but not limited to—

         a. remanding the rule to the agency, and

         b. deferring the enforcement of the rule against Plaintiffs unless the court finds

             that continued enforcement of the rule is in the public interest.


      In addition, RFA states that “[n]othing in this subsection shall be construed to limit the

      authority of any court to stay the effective date of any rule or provision thereof under

      any other provision of law or to grant any other relief in addition to the requirements of

      this section.”

          COUNT II—VIOLATION OF THE ADMINISTRATIVE PROCEDURE ACT (APA)

68.   Plaintiffs repeat and reallege each of the foregoing allegations in this First Amended

      Complaint.

69.   In promulgating the Final Regulations, Treasury and IRS violated the APA by: (i) failing to

      observe the procedures required by law in promulgating regulations; (ii) engaging in

      actions which are arbitrary, capricious and an abuse of discretion; and (iii) acting in

      excess of statutory jurisdiction, authority, or limitations, or short of statutory right.

70.   Plaintiffs have no other adequate remedy at law to redress the violations by Treasury

      and IRS within the meaning of 5 U.S.C. §704.




                                                18
        Case 1:19-cv-00247-APM Document 5 Filed 03/26/19 Page 19 of 19




71.    Under 5 U.S. C. §706, this court has authority to set aside the Final Regulations because

       of the unlawful actions taken Treasury and IRS.

                                         PRAYER FOR RELIEF

WHEREFORE, Plaintiffs pray this Court will:

       a)     Declare that Treasury’s RFA Section 605(b) certifications are invalid.


       b)     Remand the Proposed Regulations and Final Regulations to Defendants to

       comply with their statutory obligations under the APA, RFA and PRA.

       c)     To the extend permissible by law, stay the enforcement of the Final Regulations

       and Sections 965 and 962 against Plaintiffs and other small businesses until such time as

       Defendants comply with their statutory duties.

       d)     Award Plaintiffs reasonable attorney fees and cost; and

       e)     Award Plaintiffs such other relief as the Court deems just and proper, including

       but not limited ordering Defendants to comply with the APA, RFA, and PRA.


DATED: March 26, 2019

                                                    Respectfully submitted,


                                                    /s/ Stuart J. Bassin
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                                               19
